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11   RON BENDER (SBN 143364)
     MONICA Y. KIM (SBN 180139)
22   KRIKOR J. MESHEFEJIAN (SBN 255030)                                FILED & ENTERED
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     Attorneys for former Chapter 11 Debtors and Debtors in Possession Central District of California
66                                                                      BY Reaves DEPUTY CLERK



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11
11   Attorneys for Matthew Pliskin, the Trustee of the Trust

12
12                               UNITED STATES BANKRUPTCY COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
13
13                                 SAN FERNANDO VALLEY DIVISION

14
14   In re:                                                  Lead Case No.: 1:17-bk-12408-MB
                                                             Jointly administered with:
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15   ICPW Liquidation Corporation, a California              1:17-bk-12409-MB
     corporation1,
16
16                                                           Chapter 11 Cases
              Debtor and Debtor in Possession.
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17   ____________________________________                    ORDER GRANTING STIPULATION
     In re:                                                  APPROVING TRANSFER OF ESCROW
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18                                                           FUNDS
     ICPW Liquidation Corporation, a Nevada
19
19   corporation2,                                           [No Hearing Required]

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20            Debtor and Debtor in Possession.
     ____________________________________
21
21
          Affects both Debtors
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22
       Affects ICPW Liquidation Corporation, a
23
23   California corporation only

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24     Affects ICPW Liquidation Corporation, a
     Nevada corporation only
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     1
         Formerly known as Ironclad Performance Wear Corporation, a California corporation.
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28   2
         Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.


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11           The Court, having reviewed the Stipulation filed as Docket Number 560 (the
22   “Stipulation”) entered into by and between (i) Levene, Neale, Bender, Yoo & Brill L.L.P.
33
     (“Escrow Agent”), which is serving as the escrow agent pursuant to the Debtors and Official
44
     Committee of Equity Security Holders Joint Plan of Liquidation Dated February 9, 2018 (the
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     “Plan”), as Docket No. 438, that was confirmed by the Bankruptcy Court in the above-referenced
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77   chapter 11 bankruptcy cases pursuant to an order entered on February 13, 2018 (the

88   “Confirmation Order”), as Docket No. 442, and (ii) Mathew Pliskin (the “Trustee”), who is

99   serving as the Trustee of the Trust that was created in connection with the confirmed Plan, and
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10   acknowledged by Kurtzman Carson Consultants, LLC (“KCC”), and good cause appearing,
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11
             HEREBY ORDERS AS FOLLOWS:3
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             1.      The Stipulation is approved.
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             2.      The only remaining payments that the Escrow Agent shall make from the
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15   Remaining Estate Funds shall be the payment of the Final Allowed Professional Fees and

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16   Expenses. Once the Escrow Agent has paid all of the Final Allowed Professional Fees and
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17   Expenses out of the Remaining Estate Funds and transferred all of the Net Estate Funds to the
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     Trustee, the Escrow Agent will no longer be in possession of any of the Remaining Estate Funds.
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             3.      The Escrow Agent will transfer the Net Estate Funds to the Trustee in the manner
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     directed by the Trustee to the Escrow Agent in writing (with an email instruction being
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22   sufficient) following the entry of this Order by the Court and the Escrow Agent’s payment of the
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23   Final Allowed Professional Fees and Expenses.

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24           4.      In accordance with the requirements of the United States Trustee and Section
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25   345(b) of the Bankruptcy Code, the Trustee will establish collateralized accounts with the Net
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27   3
      All capitalized terms used herein which are not defined herein but which are defined in the Stipulation
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28   shall be deemed to have the same definitions as used in the Stipulation.


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11   Estate Funds for the (i) the Radians Reserve Fund, (ii) the Cordes/Aisenberg Reserve Fund, (iii)
22   the Initial Shareholder Distribution, (iv) the Trust Reserve, (v) the balance of the Net Estate
33
     Funds, and (vi) any other account the Trustee deems necessary in accordance with the Plan, and
44
     may utilize KCC’s services as disbursement agent.
55
              5.    Other than the payment of the Final Allowed Professional Fees and Expenses,
66

77   which shall be made by the Escrow Agent out of the Remaining Estate Funds, the Trustee shall

88   be solely responsible for making all other payments and distributions of the Net Estate Funds

99   provided for by the Plan, and the Escrow Agent shall be resolved of any liability or responsibility
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10   with regard to the deposit, collateralization, maintenance and/or distribution of the Net Estate
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11
     Funds.
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          Date: May 7, 2018
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